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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

E.N. BISSO & SON, INC.,                             CIVIL ACTION
    Plaintiff

VERSUS                                              NO. 19-14666
                                                    c/w 20-525

M/V DONNA J. BOUCHARD, ET AL.,                      SECTION: “E” (1)
   Defendants

Applies to: Both Cases

           BAY-HOUSTON'S MOTION TO DISMISS WITHOUT PREJUDICE
               AND INCORPORATED MEMORANDUM IN SUPPORT

       NOW INTO COURT, through undersigned counsel, comes Bay-Houston Towing Co.

("Bay-Houston"), Intervenor Plaintiff, and files this Motion to Dismiss Without Prejudice and

Incorporated Memorandum in Support, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

and respectfully shows the following.

       No defendant has filed an answer or a motion for summary judgment or otherwise appeared

in this case, Cause No. 19-14666, for the claims asserted by Bay-Houston Towing Co. in its

Verified Complaint in Intervention, R. Doc. 98. The defendants against whom Bay-Houston

asserted claims are M/V Donna J. Bouchard, in rem, Barge B. No. 272, in rem, and Bouchard

Transportation Co., Inc., in personam ("Defendants").

       Bay-Houston reached an interim agreement with Defendants that resolves its claims in rem

against the M/V Donna J. Bouchard and the Barge B. No. 272, but which leaves open Bay-

Houston's in personam claims against Bouchard Transportation Co., Inc. ("Bouchard"). Bouchard

and Bay-Houston have agreed that this case will be dismissed without prejudice from re-filing the

same in personam claims against Bouchard.



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       Bay-Houston has not previously dismissed any federal or state court action based on the

claims asserted in this case. However, pursuant to the interim agreement reached with Bouchard,

Bay-Houston will also voluntarily dismiss without prejudice its case filed in Texas, Case No. 2:20-

cv-00049 in the United States District Court for the Southern District of Texas, in which Bay-

Houston asserts claims against M/V Barbara E. Bouchard, in rem, Barge B. No. 240, in rem, and

Bouchard Transportation Co., Inc., in personam ("Texas Case").

       Bay-Houston expressly intends that this dismissal of its claims in this case, and in the Texas

Case, will have the effect of a dismissal without prejudice. Accordingly, the effect of this voluntary

dismissal is that Bay-Houston's claims against Defendants in this case should be dismissed without

prejudice pursuant to Rule 41(a)(1).

       Therefore, Bay-Houston prays the Court will grant this motion and enter an order

dismissing without prejudice Bay-Houston's claims asserted in its Verified Complaint in

Intervention, with costs taxed against the parties who incurred them, and grant such other relief as

justice may require.

                                               Respectfully submitted,

                                               HOLMAN FENWICK WILLAN USA LLP

                                               /s/ Christopher R. Hart____
                                               Christopher R. Hart
                                               Fed. ID . 12517
                                               Email: chris.hart@hfw.com
                                               5151 San Felipe, Suite 400
                                               Houston, Texas 77056
                                               Telephone:     (713) 917-0888
                                               Telefax:       (713) 953-9470
                                               PRO HAC VICE COUNSEL FOR
                                               BAY-HOUSTON TOWING CO.




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                                            /s/ Michael J. Wray
                                            Michael J. Wray
                                            Fed. ID. 381651
                                            Email: Michael.wray@hfw.com
                                            5151 San Felipe, Suite 400
                                            Houston, Texas 77056
                                            Telephone:     (713) 917-0888
                                            Telefax:       (713) 953-9470
                                            COUNSEL FOR
                                            BAY-HOUSTON TOWING CO.


                              CERTIFICATE OF SERVICE

        I hereby certify that on March 31, 2020, I electronically filed the foregoing with the
 Clerk of the Court using the CM/ECF system. A true and correct copy of the foregoing
 instrument has been served upon a l l counsel of record via the Court's CM/ECF system.

                                     /s/ Christopher R. Hart
                                     Christopher R. Hart




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